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State of Minnesota        )
                          )      ss.      Affidavit of Terry Getsch
County of Ramsey          )

      I, Terry Getsch, being duly sworn, depose and state as follows:

                                       Background

      1.      I am a Special Agent of the United States Department of Justice,

Federal Bureau of Investigation (FBI), and have been so employed since 2018. I am

currently assigned to the Minneapolis Field Office under the Violent Crime Squad

where my investigative responsibilities include the criminal investigation of federal

violent crimes to include assaults and shooting or firearms related offenses. Prior to

my assignment in the Minneapolis Field Office, for four years I was assigned to the

Seattle Field Office where I investigated violent crime in Indian Country among other

FBI firearms related investigations. I have completed the FBI Academy, Indian

Country Basic Investigators Training Program and a Georgia Peace Officer’s

Academy in addition to being previously employed as a municipal Police Officer and

Detective in the State of Georgia from 2014 to 2018. In my time as a law enforcement

officer, I have investigated and assisted with investigating numerous violent crime

and public corruption offences in addition to executed or assisted in executing search

and arrest warrants.

      2.      As a Federal Agent with the FBI, I am authorized to investigate

violations of Federal law, including unlawful flight to avoid prosecution, custody, or

confinement, and execute warrants related to the same.




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                                Purpose of Affidavit

      3.      I am investigating the activities of Vance Luther Boelter (hereinafter

“Boelter”), who was charged on June 14, 2025 with Second Degree Murder, in

violation of Minn. Stat. § 609.19, subd. 1(1). The District Court for the 4th Judicial

District has issued a felony warrant (25A06438) for Boelter’s arrest on this violation.

As shown below, there is probable cause to believe that Boelter has fled the State of

Minnesota in order to avoid prosecution, custody, and confinement. I submit this

Affidavit in support of a criminal complaint charging Boelter with Unlawful Flight to

Avoid Prosecution or Custody or Confinement after Conviction, in violation of Title

18, United States Code, Section 1073.

      4.      The statements in this Affidavit are based in part on information

provided by other law enforcement officers, as well as my own personal observations

and my own training and experience as a law enforcement officer. This affidavit is

intended to show that there is probable cause to obtain a criminal complaint and does

not purport to set forth all my knowledge of, or investigation into, this matter.

                        Facts Related to the Investigation

      5.      As described below, Vance Luther Boelter stalked multiple members of

the Minnesota state legislature and, on or about June 14, 2025, in the State and

District of Minnesota, visited the homes of several such legislators for the purpose of

killing, injuring, harassing, and intimidating them and others.

      6.      His spree of violence included visits to the homes of at least four elected

officials. During at least three of those visits, Boelter approached the front door while


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costumed as a law enforcement officer. He attempted to get the occupants to answer

the door. Occupants of two of those houses answered their doors to Boelter. In each

of those instances, Boelter used a handgun to shoot occupants of those homes. In

these episodes, which all occurred over the course of a few hours, Boelter’s gunfire

seriously injured two people and killed two others.

      7.      After engaging in a gunfight with Brooklyn Park Police Department at

Windsor Terrace and shooting and killing a State Senator and her husband, Boelter

was able to flee the scene on foot. Several blocks from the shooting scene, Law

Enforcement located a ballistic vest, flashlight, pistol magazines, face mask and

Beretta 92 9mm Pistol believed to be the equipment and firearm used during the

Champlin and Brooklyn Park shootings. The items were strewn about off a walking

trail as if the Boelter was attempting to quickly discard them in the surrounding

vegetation and avoid detection or apprehension by Law Enforcement.

      8.      Beginning in the early morning hours of June 14, 2025, various local,

state, and federal law enforcement agencies participated in a massive manhunt to

locate Boelter. Law enforcement executed numerous search warrants on locations

associated with Boelter, contacted Boelter’s family members, and used geolocation

data from Boelter’s cell phone to attempt to locate and arrest him. Boelter’s

photograph was widely reported in the local and national media as a suspect in the

above-mentioned homicide investigation. All of these efforts were unsuccessful in

locating Boelter whereabouts.




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      9.      At approximately 9 a.m., Boelter visited a U.S. Bank branch in

Robbinsdale and withdrew $2,200, all of the money he had in a bank account in his

name. A third party identified as,                , then drove Boelter from the bank

in an automobile.

      10.     Boelter’s wife was stopped by law enforcement while traveling with her

four children to visit friends northwest of the metro area. During an interview,

Boelter’s wife identified that she had recently receive a group text message from

Boelter in a group text thread with their kids. The text stated something to the effect

of they should prepare for war, they needed to get out of the house and people with

guns may be showing up to the house. Boelter and his wife had been “preppers,” or

people who prepare for major or catastrophic incidents. At some point, Boelter had

given his wife a “bailout plan” –i.e., a plan of where to go in case of exigent

circumstances—to go her mother’s residence in Spring Brook, Wisconsin. Boelter’s

wife consented to a search of her vehicle, and law enforcement located a safe, all of

the kids and Boelter’s passport, and a large amount of cash suspected of being at least

$10,000, in addition to a revolver pistol in the glove box and another semi-automatic

pistol in a cooler in the vehicle. Boelter’s wife further identified that Boelter has a

business partner from Worthington, MN who resides in Washington state and is

partners with Boelter in Red Lion, a security company and fishing outfit in Congo,

Africa.

      11.     On June 14, 2025, the FBI issued a public reward of $50,000 for

information leading to Boelter’s apprehension.


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